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                                                                   U-r.!;;            .\ I
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                      UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA '                          "         ?2
                             SAVANNAH DIVISION


 UNITED STATES OF AMERICA               )          CR416-224
                                        )
         V.                             )
                                        )
 ADRIAN TARAZZE BYRD                    )

                     CONSENT ORDER OF FORFEITURE


      WHEREAS, on June 7, 2016, a federal grand jury sitting in the Southern

District of Georgia returned a 36-count Indictment against Defendant Adrian

Tarazze Byrd and seven others charging violations of 21 U.S.C. § 846 (Count 1 -

Conspiracy to Possess with Intent to Distribute and Distribute Controlled

Substances); 21 U.S.C.§ 841(a)(1)(Counts 2 through 3, 20-23, 26,and 30-Possession

of Cocaine with Intent to Distribute); 18 U.S.C. § 922(g)(1) (Counts 4 and 25 -

Possession of Ammunition by a Convicted Felon); 21 U.S.C. § 841(a)(1)(Counts 5-19

— Possession with Intent to Distribute Marijuana); 18 U.S.C. § 922(g)(1)(Counts 24,

27, and 29-Possession of Firearms by a Convicted Felon); 18 U.S.C. § 924(c)(l)(A)(ii)

(Count 28 - Use, Carry and Brandish a Firearm During a Drug Trafficking Crime);

and 21 U.S.C. § 843(b)(Counts 31-36 - Use of a Communication Facihty);

      WHEREAS,the Indictment sought forfeiture pursuant 21 U.S.C. § 853 of any

property constituting or derived firom any proceeds obtained directly or indirectly as

a result ofsuch ofienses, and any property used or intended to be used,in any manner

or part, to commit, or to facilitate the commission of the offenses charged in Counts

1-3, 5-23, 26, and 30-36 of the Indictment;
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